        Case:18-10965-TBM Doc#:64 Filed:03/28/18                              Entered:03/28/18 22:35:04 Page1 of 3
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 18-10965-TBM
11380 SMITH RD LLC                                                                                         Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: spressera                    Page 1 of 1                          Date Rcvd: Mar 26, 2018
                                      Form ID: pdf904                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 28, 2018.
db             +11380 SMITH RD LLC,   11380 Smith Road,   Aurora, CO 80010-1406

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 28, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 26, 2018 at the address(es) listed below:
              Daniel J. Morse    on behalf of U.S. Trustee   US Trustee daniel.j.morse@usdoj.gov
              Jeffrey Weinman     on behalf of Debtor   11380 SMITH RD LLC jweinman@epitrustee.com,
               lkraai@weinmanpc.com;lkraai@ecf.courtdrive.com
              Robert Samuel Boughner    on behalf of U.S. Trustee   US Trustee Samuel.Boughner@usdoj.gov
              Scott Calvin James    on behalf of Creditor   11380 East Smith Rd Investments, LLC
               scott.james@moyewhite.com, brooke.somerville@moyewhite.com
              Timothy M. Swanson    on behalf of Creditor   11380 East Smith Rd Investments, LLC
               tim.swanson@moyewhite.com, audra.duzenack@moyewhite.com;Melissa.dymerski@moyewhite.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                             TOTAL: 6
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                                      UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF COLORADO


     In re:
                                                             Bankruptcy Case No. 18-10965 TBM
     11380 SMITH RD LLC,
     EIN XX-XXXXXXX                                          Chapter 11

     Debtor.


                       ORDER APPROVING INTERIM ADVANCE PAYMENT PROCEDURES

           THIS MATTER is before the Court on the Motion of the debtor for an Order establishing interim
   compensation procedures (the “Motion”). Notice of the Motion having been given, no party in interest
   having objected thereto, and being advised in the premises,

            HEREBY FINDS cause exists for granting the Motion, and the debtor’s cash flow allows it to pay
   its professionals and other potential administrative priority claimants on a monthly or other specified
   interim advance basis.

              THEREFORE, THE COURT ORDERS:

              (1)   Motion is granted.
              (2)   The interim advance payment procedures established in L.B.R. 2016-2 shall apply to
                    debtor’s professionals and other potential administrative priority claimants.
              (3)   The estate’s representative is authorized to pay, and the professional may seek or accept,
                    Interim Advance Payments when and only to the extent that
                        (a) funds are available to pay all professionals and other known administrative priority
                            claimants, and
                        (b) the professional has fully complied with this Order Authorizing the Interim Advance
                            Payment Procedures, including all notice and objection provisions.
              (4)   Provided the professional complies with the provisions set forth in this Order, the
                    professional may receive 80% of the fees (with the remaining 20% referred to as the
                    “holdback”) and 100% of the expenses not subject to an unresolved objection, as provided
                    in L.B.R. 2016-2(b)(8)(D). The professional may seek authorization for payment of the
                    holdback amount as part of a subsequent formal interim fee application. To the extent any
                    fees or expenses are not approved by the Court, they must be offset against the 20%
                    holdback or be disgorged from the professional as appropriate.
              (5)   Within 14 days from the end of the monthly billing cycle for which Interim Advance Payments
                    are sought, the professional must prepare a detailed monthly statement (“Monthly
                    Statement”). If the professional fails to seek Interim Advanced Payments within 14 days,
                    then the professional must await the next monthly billing cycle to obtain payment or await
                    the formal fee application process to obtain payment. Notice must be provided to the
                    Noticed Parties described in L.B.R. 2016-2(b)(7). The Monthly Statement must comply with
                    L.B.R. 2016-1(a)(2)(B).
              (6)   Monthly Statements seeking the reimbursement of expenses must include a summary of
                    expenses by category. Whenever a person pays expenses for others, the other person
                    must be identified. It is not necessary to attach supporting documentation for expenses
                    incurred to the Monthly Statement, unless and until the expense is challenged or
                    questioned.

                                                                                                          Page 1
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